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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION

      SHANA DOTY, individually and on behalf              Case No.:
      of all others similarly situated,

                          Plaintiff,

                 v.

      ADT, LLC d/b/a ADT SECURITY
      SERVICES, a Delaware limited liability
      company,

                          Defendant.

                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

            Plaintiff Shana Doty (“Plaintiff”) brings this Class Action Complaint and Demand for

  Jury Trial against Defendant ADT, LLC d/b/a ADT Security Services (“Defendant” or “ADT”),

  based on its intentional and negligent tortious acts in providing security services to its customers

  with remote-viewing capabilities. Plaintiff alleges as follows upon personal knowledge as to

  herself and her own acts and experiences, and, as to all other matters, upon information and

  belief.

                                         NATURE OF THE ACTION

            1.          In April of 2020, Shana Doty received a terrifying phone call from ADT: the

  technician who had worked on her indoor security camera system had granted himself remote

  access, and had used that access an unknown amount of times to spy on her, her husband, and

  her minor son in their most private moments.

            2.          And Ms. Doty was not the only one. She soon found out that hundreds of

  households had experienced the same staggering invasion of privacy over at least a seven-year

  period. At fault for this breach of trust: ADT’s unsecure and unmonitored “security” services.
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         3.      While ADT boasts that it has been protecting people for over 145 years and holds

  itself out as the “#1 in smart home security” it failed to even secure its own systems from

  massive and ongoing intrusions into its customers private lives.

         4.      ADT failed to provide the security services its customers paid for by leaving large

  vulnerabilities in the ADT Pulse application and, as a result, compromised the safety and security

  of its customers’ homes and family members. The ADT vulnerability allowed any one of its

  technicians to grant themselves (or for them to grant anyone else for that matter) access to a

  customer’s ADT Pulse application and control every aspect of the customers’ home security

  systems including surreptitiously opening locks and viewing security camera footage.

         5.      In a frantic effort to mitigate and hide its actions, ADT began a campaign to call

  all affected account holders and secure a release and confidentially agreement in exchange for a

  monetary payment representing a fraction of the value of their claims. This effort, directed by

  lawyers but carried out by customer service representatives, failed to determine whether

  individuals were represented by counsel, and attempted to mislead them into believing that the

  release would cover account holders and non-account holders in the household alike.

         6.      Beyond the now-known technician who accessed Plaintiff’s home, potentially

  countless other unknown individuals have been accessing customers’ ADT Pulse accounts and

  surreptitiously viewing their camera footage, for years, all around the country.

         7.      The mental and emotional impact this revelation has had on every person

  receiving these calls from ADT is immeasurable. Moments once believed to be private and

  inside the sanctity of the home are now voyeuristic entertainment for a third party. And worse,

  those moments could have been captured, shared with others, or even posted to the internet.




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  ADT’s failure to protect its customers irreparably destroyed their sense of security, safety,

  intimacy, and well-being.

                                               PARTIES

         8.      Plaintiff Shana Doty is a natural person and a citizen of the State of Texas.

         9.      Defendant ADT, LLC is a limited liability company organized and existing under

  the laws of Delaware with its principal place of business located at 1501 Yamato Road, Boca

  Raton, Florida 33431.

                                   JURISDICTION AND VENUE

         10.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2),

  because (i) at least one member of the Class is a citizen of a different state than the Defendant,

  (ii) the amount in controversy exceeds $5,000,000, exclusive of interests and costs, and (iii) none

  of the exceptions under that subsection apply in this action.

         11.     This Court has personal jurisdiction over Defendant because Defendant conducts

  business in Florida and has its headquarters in this District.

         12.     Venue is proper pursuant to 28 U.S.C. § 1391(b) because Defendant maintains its

  headquarters and conducts significant business in this District.

                              COMMON FACTUAL ALLEGATIONS

  I.     ADT Promises Safety and Security to Consumers.

         13.     ADT is a home security company that touts its longstanding expertise in security

  and claims to have been providing security services since the 19th century. According to ADT, it

  has “been helping protect homes longer than any other company in the business.” ADT provides




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  residential security systems and monitoring plans that purportedly “protect what matters most in

  your life.” In short, ADT promises that it is “fully committed to your security.”1

             14.   ADT markets and sells a comprehensive security system package that includes the

  hardware necessary to operate a home security system, the monitoring services that detect home

  intrusions and alert the police, and the security system installation.

             15.   ADT offers various tiers of its home security systems at different price points.

  The basic tier, for example, features security monitoring equipment with 24/7 alarm monitoring

  while the highest tier home security package includes various convenience and home automation

  features.

             16.   One of the highest tier home security packages is ADT Pulse. ADT Pulse allows

  consumers to “check on your home - even if you’re away” by giving them remote access to

  control their home security system from a mobile application or a web browser portal.

  Specifically, consumers can arm and disarm their home security systems, remotely lock and

  unlock doors, view live camera footage, and control various smart home devices like a

  thermostat and lights. See Figure 1, showing a screenshot of ADT’s marketing materials for ADT

  Pulse. 2




  1
          ADT Services | In-Home Consultation, Installation, Repairs, Customer Support,
  https://www.adt.com/services (last visited May 7, 2020).
  2
          ADT Pulse® | Official ADT Smart Home Automation System,
  https://www.adt.com/pulse (last visited May 7, 2020).
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         (Figure 1.)

         17.     Consumers must purchase various smart devices from ADT to reap the benefits of

  the ADT Pulse service and all the advertised remote accessibility features. ADT touts that its

  smart home features are not only more convenient to consumers, but they provide “smarter

  security.” For example, ADT claims that the purchase of its smart locks for use with the ADT

  Pulse system will result in a “whole new level of security and convenience….” as shown in

  Figure 2.




         (Figure 2.)
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         18.     Most importantly, ADT encourages consumers to purchase video cameras for

  both outdoors and indoors uses to “keep an eye on the things you value most.” 3 The indoor

  cameras, according to ADT, are specifically intended to “check in on your kids” and can be set

  up to stream and capture video clips of events “like when your kids get home from school.” 4

         19.     Consumers use the ADT Pulse mobile application to “check any or all of your

  ADT home security cameras” and to “look in on your family and your pets any time with live-

  streaming video.” Furthermore, consumers are able view stored video clips from their security

  cameras on their phones via the ADT Pulse mobile application. 5

         20.     To use the ADT Pulse smart home features—like remotely viewing security

  camera footage, disarming a security system, or unlocking smart locks—consumers must login

  into the ADT Pulse mobile application or the ADT Pulse web browser portal by using their

  username and password. Anyone with valid login credentials, like a family member, can access

  and control the security system remotely.

         21.     In order for the ADT Pulse system to function correctly, an ADT technician needs

  to perform the system installation and configuration.

         22.     Each new security system installation comes with a “worry-free professional

  installation” where “high-trained ADT technicians will set-up your ADT security system so you

  don’t have to.” 6 ADT technicians will also test the security system and assist the consumer in




  3
           Wireless Home Security Cameras & Video Surveillance Cameras | ADT,
  https://www.adt.com/security-cameras (last visited May 7, 2020).
  4
           Shop ADT® Indoor Home Security Cameras | ADT, https://www.adt.com/indoor-
  security-camera (last visited May 7, 2020).
  5
           Supra note 3.
  6
           ADT® | Compare Home Security System Packages | 2020, https://www.adt.com/compare
  (last visited May 7, 2020)
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  connecting their smart phone to the ADT security system for use with ADT Pulse, as shown in

  Figure 3.




  (Figure 3.)

          23.    ADT further promotes its security services by stating that its technicians are what

  sets them apart from the competitors in being able to earn its customers’ trust and protect the

  most important people in their lives. According to its website: “Our people are dedicated to

  taking care of the people and property you value most in your life. Our customers trust us to help

  protect those things that cannot be replaced.” See Figure 4, showing a screenshot from ADT’s

  website. 7




  7
          Why ADT has the Best Home Security and Customer Service | ADT,
  https://www.adt.com/security-benefits (last visited May 7, 2020).
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         (Figure 4.)

  II.    ADT Failed to Detect a Seven-Year-Long Breach of its Systems That, at the Very Least,
         Resulted in an ADT Employee Improperly Accessing Customers’ Accounts.

         24.     Unfortunately for all of ADT’s Pulse customers, a vulnerability in the Pulse

  security system completely obliterates all of ADT’s promises of security and protection.

         25.     On or around April 23, 2020, ADT began to contact some of its customers to

  inform them that a vulnerability in the ADT Pulse system had allowed unauthorized users to

  access customers’ ADT Pulse accounts as if they were a regular user. In other words, an

  unauthorized user could remotely arm and disarm security systems, access smart home devices,

  and view security camera footage, including footage from indoor cameras designed to, among

  other things, protect their children.

         26.     In fact, ADT’s investigation revealed that at least one ADT employee in the

  Dallas-Fort Worth Texas area, named Telesforo Aviles, had access to more than 200 different

  customers’ ADT Pulse accounts for the last seven years. According to an ADT spokesperson, the

  ADT technician was able to add—and in fact did add—his own personal email address to a



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  customers’ account, allowing him to remotely login to a customers’ account using his own

  unauthorized credentials.

         27.     This type of access could only occur because ADT failed to implement adequate

  procedures that would prevent non-household members from adding non-household email

  addresses. Similarly, ADT failed to monitor consumers’ accounts and promptly alert them

  anytime a new email was added to their accounts. Countless checks could have been in place to

  prevent or at least stop this conduct. Instead, this breach came to light only by luck and

  happenstance: a customer, reporting a technical issue, inadvertently revealed the unwanted third-

  party access. But for that event, ADT would be unaware of this invasive conduct and it would

  continue unabated to this day (and likely expanding to new households).

         28.     As such, countless other ADT technicians and/or employees could have taken

  advantage of ADT’s lax security and granted themselves unfettered access to other customer

  accounts—entirely unbeknownst to both the customer and to ADT.

         29.     Although ADT claims it has implemented procedures to prevent similar incidents

  in the future, it is already too late for an unknown number of consumers whose accounts and

  security camera footage have already been accessed and potentially exploited.

  III.   ADT Harmed its Customers by Concealing its Deficient Data Security Practices.

         30.     ADT’s customers have already suffered significant and lasting harm as a result of

  its misconduct.

         31.     Consumers place value in data privacy and security, and they consider issues of

  privacy and security when making purchasing decisions. In fact, it is widely accepted that

  consumers are willing to pay higher prices to do business with merchants that better protect their

  privacy and information—especially security companies.

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          32.     A number of studies have found that U.S. consumers consider security when

  purchasing goods and services, and that over 50% of consumers would consider paying more to

  work with a company with better security. 8 Likewise, studies have shown that over 70% of U.S.

  consumers will provide less personally identifiable information to organizations that suffer a data

  breach. 9

          33.     Consumer technology markets have likewise demonstrated that consumers value

  their privacy and security and incorporate data security practices into their purchases. For

  example, companies have begun providing consumers with “cloaking services” that allow them

  to browse the internet anonymously for a fee. Likewise, companies now offer services that, in

  exchange for a monthly fee, will offer online services designed to protect data privacy.

          34.     Because of the value consumers place on data privacy and security, services with

  better security practices command higher prices than those without. Indeed, if consumers did not

  value their data security and privacy, profit-seeking corporations (like ADT) would have no

  reason to tout their privacy and security credentials to current and prospective customers.

          35.     These value propositions reflect the fact that consumers view companies that

  promise to adequately secure customer data as being far more useful—and valuable—than those

  with substandard protections.

          36.     As a result, a security service with substandard data security and privacy

  protections is less useful and valuable than a product or service using adequate security

  protocols, and is, in reality, a different service entirely. Or, in other words, not a security

  company at all.


  8
           Beyond the Bottom Line: The Real Cost of Data Breaches, FireEye,
  https://tinyurl.com/ycvtd2fl (last visited Mar. 7, 2020).
  9
           Id.
  10
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         37.     Stated simply, had consumers—like Plaintiff Doty—known the truth about

  ADT’s data security practices—e.g., that ADT did not adequately protect her family’s security—

  they would not have purchased ADT’s security services.

                            FACTS SPECIFIC TO PLAINTIFF DOTY

         38.     Ms. Doty has been a long-time ADT security customer. In approximately 2014,

  Ms. Doty upgraded her account to the ADT Pulse system which included installing security

  cameras inside her home. ADT represented to Ms. Doty that this upgrade would enhance her

  personal security.

         39.     Indeed, Ms. Doty relied on ADT’s representations, including both representations

  by ADT employees and ADT’s representations on its website, about the ADT Pulse system’s

  safety and security.

         40.     Shortly thereafter, an ADT technician installed the ADT Pulse system, which

  included an indoor security camera with a wide-angle view that provided a visual of a bathroom,

  entryway, family room and dining space, stairs, and into the master bedroom.

         41.     On April 23, 2020, a phone call from ADT destroyed whatever security and safety

  ADT’s security system promised. An ADT “Concierge Representative” called Ms. Doty to

  explain that one of its technicians had gained access to her account and had access to her camera,

  potentially viewing her, her husband, and their minor son, for an unknown amount of time, ADT

  claimed it was unknown how many times he accessed their camera.

         42.     In an email later that day, ADT Concierge Representative Wayne Walker

  described it as “a difficult message to hear.” Difficult is, of course, woefully inadequate to truly

  describe Plaintiff’s loss of security, loss of safety, humiliation, and anger.




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         43.     Based upon the cameras’ wide-angle lens and placement, ADT’s employee had an

  opportunity to watch at least the following events:

                 a. Ms. Doty, her husband, and her minor son nude;

                 b. Ms. Doty, her husband, and her minor son in various states of undress;

                 c. Ms. Doty, her husband, and her minor son getting ready for bed;

                 d. Moments of physical intimacy; and

                 e. Private and confidential moments and conversations.

         44.     Immediately after the call, Ms. Doty disabled the ADT camera in her home. Ms.

  Doty expended significant time and money addressing the current and future consequences of the

  exposure enabled by ADT, including, but not limited to, disabling ADT security hardware, and

  researching additional surveillance and security devices and services.

         45.     Prior to April 23, 2020, Ms. Doty never received any call, text, email, or

  notification of any kind informing her that another user was added to her ADT Pulse account or

  that a user (aside from her) accessed her ADT Pulse account.

                                      CLASS ALLEGATIONS

         46.     Class Definition: Plaintiff Shana Doty brings this action on behalf of herself and

  a class of similarly situated individuals defined as follows:

         All ADT Pulse customers in the United States whose security systems were remotely
         accessed by an employee or agent of Defendant ADT without authorization from the
         customer.

  The following people are excluded from the Class: (1) any Judge or Magistrate presiding over

  this action and the members of their family; (2) Defendant, Defendant’s subsidiaries, parents,

  successors, predecessors, and any entity in which the Defendant or its parents have a controlling

  interest and their current or former employees, officers, and directors; (3) persons who properly

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  execute and file a timely request for exclusion from the Class; (4) persons whose claims in this

  matter have been finally adjudicated by a court of law on the merits; (5) Plaintiff’s counsel and

  Defendant’s counsel; and (6) the legal representatives, successors, and assigns of any such

  excluded persons.

         47.     Numerosity: The exact number of members of the Class is unknown and is not

  available to Plaintiff at this time, but individual joinder in this case is impracticable. The Class

  likely consist of hundreds of individuals. Members of the Class can be easily identified through

  Defendant’s records.

         48.     Commonality: There are many questions of law and fact common to the claims

  of Plaintiff and the other members of the Class, and those questions predominate over any

  questions that may affect individual members of the Class. Common questions for the Class

  include but are not limited to the following:

                 a. Whether Defendant’s conduct constitutes a breach of contract;

                 b. Whether Defendant’s conduct constitutes negligence;

                 c. Whether Defendant’s conduct constitutes gross negligence;

                 d. Whether Defendant’s conduct constitutes an intrusion upon seclusion;

                 e. Whether Defendant’s conduct constitutes a violation of the Computer Fraud
                 and Abuse Act; and

                 f. Whether Defendant’s conduct constitutes negligent hiring, supervision, and
                 retention.

         49.     Typicality: Plaintiff’s claims are typical of other members of the Class, in that

  Plaintiff and the members of the Class sustained damages arising out of Defendant’s uniform

  wrongful conduct.




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         50.     Adequate Representation: Plaintiff will fairly and adequately represent and

  protect the interests of the Class and have retained counsel competent and experienced in

  complex class actions. Plaintiff has no interest antagonistic to those of the Class, and Defendant

  has no defenses unique to Plaintiff.

         51.     Predominance and Superiority: This case is also appropriate for class

  certification because class proceedings are superior to all other available methods for the fair and

  efficient adjudication of this controversy because joinder of all parties is impracticable. The

  damages suffered by the individual members of the Class will likely be relatively small,

  especially given the burden and expense of individual prosecution of the complex litigation

  necessitated by Defendant’s actions. Thus, it would be virtually impossible for the individual

  members of the Class to obtain effective relief from Defendant’s misconduct. Even if members

  of the Class could sustain such individual litigation, it would still not be preferable to a class

  action because individual litigation would increase the delay and expense to all parties due to the

  complex legal and factual controversies presented in this Complaint. By contrast, a class action

  presents far fewer management difficulties and provides the benefits of single adjudication,

  economies of scale, and comprehensive supervision by a single Court. Economies of time, effort,

  and expense will be fostered, and uniformity of decisions ensured.

                                   FIRST CAUSE OF ACTION
                                       Breach of Contract
                                (On Behalf of Plaintiff and the Class)

         52.     Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

         53.     Plaintiff Doty and the Class members entered into a valid and enforceable

  agreement with Defendant ADT to install a security system and agreed to pay money for such

  services.

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         54.     A material part of the agreement between Defendant ADT and Plaintiff Doty and

  Class members was to provide a security system that was suitable for their purpose and not

  designed with flaws that render them and/or access to them vulnerable to unauthorized access

  resulting in the compromise of user safety and security.

         55.     A meeting of the minds occurred, and Plaintiff Doty and the Class fully

  performed their obligations under the contracts.

         56.     Defendant breached the contract with Plaintiff Doty and Class members by failing

  to acknowledge the inherent vulnerability in the ADT Pulse system and the ability of a third

  party to access the security system and various connected security devices including door locks

  and cameras.

         57.     Plaintiff Doty and Class members would not have paid for Defendant’s security

  system had they known of these vulnerabilities, but rather would have chosen one of the

  numerous alternatives that were available to them and which did not present a hidden safety risk.

         58.     Defendant’s failure to fulfill its promises resulted in Plaintiff Doty and Class

  members receiving services that were of less value than they paid for. Stated otherwise, because

  Plaintiff Doty and Class members paid for privacy protections that they did not receive—even

  though such protections were a material part of their contracts with the Defendant—they did not

  receive the full benefit of the bargain. As a result of the Defendant’s breach, Plaintiff Doty and

  the Class suffered damages in the amount of the difference between the price they paid for the

  Defendant’s services as promised and the actual diminished value of its security services.

         59.     As a direct and proximate result of Defendant’s breach of their contracts with

  Plaintiff Doty and Class members, Plaintiff Doty and Class have also suffered and will suffer

  injury, including, but not limited to: the cost of replacement security devices; the cost of

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  additional surveillance and protective devices and services; and time spent monitoring and

  addressing the current and future consequences of the exposure enabled by ADT.

                                SECOND CAUSE OF ACTION
                                           Negligence
                            (On Behalf of Plaintiff Doty and the Class)

         60.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

         61.     Defendant ADT had full knowledge of the purpose for which its security cameras

  were being used and the sensitivity of the people and things the cameras were designed to secure

  and protect—that which “matters most” to their clients. Defendant also knew the types of harm

  that Plaintiff and the members of the Class could and would suffer if the integrity of the security

  system was compromised.

         62.     Defendant had a duty to exercise reasonable care in ensuring that all ADT

  security systems were secure, safe to use, and inviolable by unauthorized parties. This duty

  includes, among other things, ensuring that reasonable and proper protocols and safeguards are

  in place so that consumers’ security cameras are not easily compromised by unauthorized users.

         63.     Defendant ADT, by and through its agents, employees, and independent

  contractors, was negligent in its acts and/or omissions by, amongst other things, allowing

  technicians to create authorized user accounts, and by failing to discover that its employees could

  make and did make themselves authorized users gaining unauthorized access to Plaintiff’s ADT

  Pulse account, thereby allowing surreptitious videos and images to be viewed and taken of

  Plaintiff in her home.

         64.     Plaintiff and the members of the Class were the foreseeable and probable victims

  of any inadequate security practices and procedures. Defendant knew of or should have known




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  of the inherent risks of allowing ADT cameras to be set up and used without adequate security

  protocols and safeguards.

         65.     Defendant ADT further knew or should have known that: (1) the surreptitious

  recordings of Plaintiff contained private and confidential information about Plaintiff; (2) Plaintiff

  had a reasonable expectation of privacy in being partially and fully naked, engaging in

  consensual intimate activity, and having private conversations in a private home; (3) the

  recordings were taken without Plaintiff’s knowledge or consent; (4) the surreptitious recordings

  would reveal private and personal things about Plaintiff which Defendant had no right or

  authorization to view, use, disseminate, or disclose; (5) and the viewing of these private acts and

  occasions constitutes a substantial violation of Plaintiff’s right of privacy.

         66.     Beyond ordinary negligence, Defendant ADT was grossly negligent because the

  acts and omissions of Defendant ADT and its employee and agents were more than momentary

  thoughtlessness or inadvertence. Rather the conduct, when viewed objectively from the

  standpoint of Defendant ADT at the time of these events, involved an extreme degree of risk,

  considering the probability and magnitude of the potential harm to Plaintiff. Moreover,

  Defendant ADT had subjective knowledge of the risk of employees gaining unauthorized access

  to clients cameras, but failed to disclose to Plaintiff the vulnerability of their monitoring systems

  and the ability of ADT employees to monitor and observe their home without their consent, and

  acted with conscious indifference to the rights, safety, and welfare of their clients.

         67.     Defendant’s own actions and inactions created a foreseeable risk of harm to

  Plaintiff and the members of the Class. Defendant’s misconduct included, but was not limited to,

  its failure to sell security systems with sufficiently robust security protocols to prevent

  unauthorized users from gaining access to the cameras, and failing to inform Plaintiff and the

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  members of the Class when unknown individuals added their email addresses to customer

  accounts.

         68.     Defendant was in a position to protect against the harm suffered by Plaintiff and

  the members of the Class and had a duty to do so.

         69.     Defendant, through its actions, unlawfully breached its duty to Plaintiff and the

  members of the Class by failing to ensure their cameras and set up procedures were sufficiently

  robust to protect against unauthorized use.

         70.     But for Defendant’s wrongful and negligent breach of duties owed to Plaintiff and

  the members of the Class, Plaintiff and the members of the Class would not have used or

  purchased a product that is so readily compromised.

         71.     As a result of Defendant’s negligence, Plaintiff and the members of the Class

  have suffered and will continue to suffer damages and injury including, but not limited to: the

  cost of replacement cameras; cost of additional surveillance and protective devices and services;

  time spent monitoring and addressing the current and future consequences of the exposure

  enabled by ADT; and the necessity to engage legal counsel and incur attorneys’ fees, costs and

  expenses.

         72.     Further, because Defendant’s acts and omissions resulted from gross negligence,

  exemplary damages should be awarded against Defendant in an amount to be determined by the

  jury in this case. Moreover, exemplary damages should be awarded without limitation, as set

  forth in TEX. CIV. PRAC. & REM. CODE § 41.008(c).

                                 THIRD CAUSE OF ACTION
                                   Intrusion Upon Seclusion
                            (On Behalf of Plaintiff Doty and the Class)

         73.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

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         74.     Defendant intentionally intruded upon Plaintiff’s and each of the Class members’

  seclusion, permitting unauthorized access to their private security camera footage.

         75.     Defendant’s facilitation and failure to stop such access is highly offensive to a

  reasonable person as it reveals intimate private details about Plaintiff and each of the Class

  members and the activities they participate in inside the privacy of their own homes.

         76.     Defendant’s intrusion upon the Plaintiff’s and the Class members’ seclusion

  caused Plaintiff and the Class members mental anguish and suffering in the form of anxiety, loss

  of security, loss of safety, humiliation, and anger.

                                FOURTH CAUSE OF ACTION
                         Computer Fraud and Abuse Act, 18 U.S.C. § 1030
                           (On Behalf of Plaintiff Doty and the Class)

         77.     Plaintiff Doty incorporates the foregoing allegations as if fully set forth herein.

         78.     The Computer Fraud and Abuse Act (“CFAA”) broadly prohibits intentional

  access to computer systems without authorization or in excess of authorization.

         79.     Plaintiff Doty is an individual and therefore a “person” under 18 U.S.C. §

  1030(e)(12).

         80.     The ADT Pulse system is a “protected computer” under 18 U.S.C. §

  1030(e)(2)(B) because it is used in and affects interstate or foreign commerce and

  communication. Specifically, the ADT Pulse system allows consumers to remotely access and

  monitor their ADT home security—including viewing security camera footage, opening locks,

  and arming or disarming the security system—even if the consumer is on the other side of the

  country or the world. The ADT Pulse system communicates with ADT monitoring centers

  located at various locations around the country and the consumer either via the internet or via

  cellular towers.

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         81.     ADT violated the CFAA because one or more of ADT’s employees intentionally

  accessed Plaintiff Doty’s and Class members’ ADT Pulse security system accounts without

  obtaining any authorization from the customer. Furthermore, ADT’s employees obtained

  information from the Plaintiff Doty’s and the Class members’ ADT Pulse security systems in the

  form of video recordings of their homes and any information showing the status of the security

  system, in general.

         82.     As such, Plaintiff Doty and the Class have suffered damages as a result of

  unauthorized access to their accounts. That is, Plaintiff Doty and the Class now face a significant

  impairment to the integrity of data, and the ADT Pulse security system in general. Plaintiff Doty

  and the Class have been subjected to ADT’s vulnerability that allowed unauthorized users to

  control their ADT Pulse systems.

         83.     Plaintiff Doty and the Class have also suffered a significant loss as a result of

  unauthorized access to their accounts. Plaintiff Doty and the Class expended significant time and

  resources in responding to the ADT’s vulnerability and ADT’s employees’ unauthorized access

  to their accounts.

         84.     Overall, ADT’s vulnerability and its employees’ unauthorized access to Plaintiff

  Doty’s and the Class members’ ADT Pulse systems undoubtedly poses a public safety risk.

                                  FIFTH CAUSE OF ACTION
                           Negligent Hiring, Supervision and Retention
                              (On Behalf of Plaintiff and the Class)

         85.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

         86.     At all relevant times, Telesforo Aviles was ADT’s employee and/or agent.

         87.     Whenever in this Complaint it is alleged that Defendant did any act or thing, it is

  meant that each of Defendant’s officers, agents, servants, employees, or representatives did such

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  act and/or that at the time such act was done, it was done with the full authorization or

  ratification of the Defendant, or was done in the normal and routine course and scope of

  employment of each of Defendant’s officers, agents, servants, employees, or representatives.

         88.     ADT had the opportunity and duty to screen its employees, including Aviles, to

  ensure they were fit to perform the duties asked of them.

         89.     ADT knew or should have known Aviles was incompetent or unfit. Nonetheless,

  ADT made the reckless decision to hire and retain Aviles as a technician.

         90.     ADT and its agents, servants, and employees, who were at all times acting in the

  course and scope of their employment, were guilty of negligence toward Plaintiff. Defendant

  ADT is further liable for the negligent acts of their agents, servants, or employees, including

  Aviles, under the legal doctrine of respondeat superior. At all relevant times, Aviles was an agent

  apparent or ostensible agent of Defendant ADT.

         91.     ADT’s negligence was a proximate cause of Plaintiff’s and Class members’

  injuries and damages, including, but not limited to, Defendant ADT’s negligence in:

                 a. Failing to perform due diligence in contacting Aviles’s prior employers;

                 b. Failing to adequately evaluate Aviles’s mental state prior to hiring;

                 c. Any and all actions and omissions as may be proven at trial;

                 d. Negligently hiring Aviles in a position allowing him to have access to sensitive

                 client information;

                 e. Negligently allowing Aviles to access sensitive client information when

                 Defendant ADT knew, or in the exercise of ordinary care should have known, that

                 Aviles was unfit;

                 f. Negligently retaining Aviles in its employ in a position that provided him with

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                 access to sensitive client information;

                 g. Negligently and inadequately supervising its employees;

                 h. Failing to create and/or enforce safety rules, polices, and procedures governing

                 employee conduct regarding access to clients’ cameras and other sensitive

                 information;

                 i. Failing to warn Plaintiff of the inappropriate and substandard hiring and

                 retention, training, and supervision of their employees; and

                 j. Negligently allowing the ADT employee to accomplish the tort upon Plaintiff

                 by the existence of his agency relationship with Defendant ADT.

         92.     These actions and omissions of ADT singularly, or in combination with others,

  proximately caused damages to Plaintiff and the Class, including mental anguish and suffering in

  the form of anxiety, stress, loss of security, fear, loss of safety, humiliation, and anger.

                                    SIXTH CAUSE OF ACTION
                             Intentional Infliction of Emotional Distress
                                (On Behalf of Plaintiff and the Class)

         93.     Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

         94.     At all times herein, ADT’s employee acted intentionally, maliciously, and without

  justification, to gain unauthorized access to Plaintiff’s private camera, potentially including

  video of Plaintiff partially or completely naked and engaging in intimate and other private

  activities, when ADT’s employee knew or should have known that Plaintiff would suffer severe

  emotional distress as a result.

         95.     The conduct by ADT’s employee was intentional and malicious and done for the

  purpose of causing, or was known by Aviles to be likely to cause, Plaintiff to suffer severe




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  emotional distress, and was done with the wanton and reckless disregard of the consequences to

  Plaintiff.

          96.     Defendant ADT had a duty to exercise reasonable and ordinary care and caution

  in and about the management, maintenance, supervision, control, and operation of its systems

  and each of their employees, agents, and independent contractors, all to the benefit of clients and

  persons like Plaintiff.

          97.     Defendant ADT, by and through its agents, employees, and independent

  contractors, was reckless in its acts and/or omissions by, amongst other things, allowing

  technicians to create authorized user accounts, and by failing to discover that Aviles made

  himself an authorized user and gained unauthorized access to Plaintiff’s home camera, thereby

  allowing surreptitious videos and images to be viewed and taken of Plaintiff in the privacy of her

  home.

          98.     Defendant ADT knew or should have known that: (1) the surreptitious recordings

  of Plaintiff contained private and confidential information about Plaintiff; (2) Plaintiff had a

  reasonable expectation of privacy in being partially and fully naked and engaging in consensual

  intimate activity, and having private conversations, in a private home; (3) the recordings were

  taken without Plaintiff’s knowledge or consent; (4) the surreptitious recordings would reveal

  private and personal things about Plaintiff which Defendant had no right or authorization to

  view, use, disseminate, or disclose; (5) and the viewing of these private acts and occasions

  constitutes a substantial and outrageous violation of Plaintiff’s right to privacy.

          99.     These acts were done intentionally or with a conscious and/or reckless disregard

  of Plaintiff’s rights, and with the intent to vex, injure, or annoy, such as to constitute oppression,




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  fraud, or malice. ADT acted outrageously and beyond all reasonable bounds of decency, and

  intentionally inflicted severe emotional distress upon Plaintiff, to her detriment.

          100.   As a direct and proximate result of ADT’s aforementioned acts and omissions,

  Plaintiff suffered emotional injury, mental damage, loss, harm, anxiety, embarrassment,

  humiliation, shame, and severe emotional distress in an amount subject to proof. These damages

  are continuing in nature and will be suffered in the future.



                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Shana Doty, individually and on behalf of the Class of

  similarly situated individuals, prays for the following relief:

          A.     Certifying this case as a class action on behalf of the Class defined above,

  appointing Plaintiff as the representative of the Class, and appointing her counsel as class

  counsel;

          B.     Declaring that Defendant’s actions, as set out above constitute a breach of

  contract, negligence, intrusion upon seclusion, and a violation of the CFAA;

          C.     Awarding damages, including statutory, exemplary, and punitive damages where

  applicable;

          D.     Awarding Plaintiff and the Class her reasonable litigation expenses and attorneys’

  fees;

          E.     Awarding Plaintiff and the Class pre- and post-judgment interest, to the extent

  allowable;

          F.     Awarding such other injunctive and declaratory relief as is necessary to protect

  the interests of Plaintiff and the Class; and

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        G.      Awarding such other and further relief as the Court deems reasonable and just.

                                  DEMAND FOR JURY TRIAL

        Plaintiff demands a trial by jury for all issues so triable.

                                                Respectfully submitted,

                                                SHANA DOTY, individually and on behalf of all
                                                others similarly situated,

  Dated: May 18, 2020                           By: /s/ Karina D. Rodrigues
                                                        Karina D. Rodrigues


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